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NOTICE OF APPEARANCE IN A CRIMINAL CASE

CLERK’S OFFICE
UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA
WASHINGTON, D.C. 20001

UNITED STATES OF AMERICA

vs. Criminal Number 22-CR-00338

 

LESLIE GRAY
(Defendant)

TO: | ANGELA CAESAR, CLERK

YOU ARE HEREBY NOTIFIED THAT | APPEAR FOR THE DEFENDANT INDICATED
ABOVE IN THE ENTITLED ACTION.

| AM APPEARING IN THIS ACTION AS: (Please check one)

[L] cua [=] RETAINED [_] FEDERAL PUBLIC DEFENDER

PLEASE PRINT THE FOLLOWING INFORMATION:

Jay P. Mykytiuk, 976596

(Attorney & Bar ID Number)
Scrofano Law PC
(Firm Name)
600 F Street NW Suite 300
(Street Address)
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(City) (State) (Zip)

202-630-1522

(Telephone Number)

 
